                     UNITEDDocument
      Case 4:22-cr-00034-O  STATES D ISTRICT
                                    206       COURT
                                        Filed 04/29/22                  Page 1 of 2 PageID 738
                          PROBATION AND PRETRIAL SERVICES
                            NORTHERN DISTRICT OF TEXAS



 UNITED STATES OF AMERICA )
                          )
            v.                                                   Case No. 4:22-CR-034-O (6)
                          )
                          )
       LAURA ORTIZ
                          )


                    Report of Violation of Conditions of Pretrial Release

COMES NOW Angela Roberson, Supervising U.S. Probation Officer, presenting a report to the Court
upon the conduct of defendant, Laura Ortiz, who was placed on pretrial release supervision by the
Honorable U.S. Magistrate Jeffrey Cureton sitting in the Court at Fort Worth, Texas, on February 15,
2022, under the following conditions:

       (7)(l) The defendant must not use or unlawfully possess a narcotic drug or other controlled
       substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner.
       Including the use of any synthetic and/or natural substance to alter mood and/or cognitive ability
       such as CBD and hemp oils/products.

The undersigned has information that the defendant has violated such conditions in each of the following
respects:

       On March 23, 2022, Laura Ortiz submitted an initial urine specimen in the Western District of
       Texas at the direction of U.S. Probation Officer Natasha Kopsie. On April 18, 2022, the specimen
       was confirmed positive for marijuana by Alere Toxicology Services, Incorporated. A subsequent
       urine specimen submitted by Ms. Ortiz on April 12, 2022, was negative for all illegal substances.

The undersigned suggests to the court that no action be taken.


I declare under penalty of perjury that the foregoing is
true and correct.

Executed on April 29, 2022                                 Approved,

s/Angela Roberson                                          s/Angela Roberson
  Supervising U.S. Probation Officer                         Supervising U.S. Probation Officer
  Prepared by Thomas Patterson                               817-505-1078
  Probation Technician
  817-505-4466




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Report of Violations of Conditions
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Laura Ortiz                                                               Page 2 of 2 PageID 739




                                                   Order

Having considered the report of the Probation Office pertaining to possible violations by defendant, Laura
Ortiz, of his/her conditions of pretrial release, the court ORDERS that:

   ☒     No action be taken.


   ☐     The Order Setting Conditions of Release is modified to include the following:


   ☐     A summons be issued and the defendant appear before a judge of this court to determine
         whether his/her conditions of pretrial release should be revoked.
   ☐     A violator’s warrant be issued, and the above-named defendant be arrested forthwith and
         brought before a judge of this court to determine whether his/her conditions of pretrial release
         should be revoked. Petition and warrant sealed and not be distributed to counsel of record until
         effectuated.
   ☐      The office of the U.S. Attorney for the Northern District of Texas file a motion to revoke the
         conditions of the defendant’s pretrial release, consistent with the information contained in the
         foregoing Report, and take such steps as are necessary to present such motion at the hearing
         thereon.
   ☐     File under seal until further order of the Court.




                                                             The Honorable Jeffrey L Cureton
                                                             U.S. Magistrate Judge
                                                             April 29, 2022
                                                             Date




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